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          From: Jason Giles <jgiles@kinginjuryfirm.com>
             To: "D. Patrick Keating" <patrick@keatinglawgroup.legal>
        Subject:
           Date: Tue, 12 Feb 2019 17:09:42 +0000
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                 Motion_in_Limine_5-_linking_fraud_ring_activity_to_Ps.pdf




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